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 8                    UNITED STATES DISTRICT COURT
 9                  CENTRAL DISTRICT OF CALIFORNIA
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12 UNITED STATES OF AMERICA,            )   CR 95-0345-RSWL-16
                                        )
13                                      )
                                        )   ORDER SETTING BRIEFING
14                  Plaintiff,          )   SCHEDULE ON DEFENDANT’S
                                        )   MOTION TO REDUCE
15       v.                             )   SENTENCE PURSUANT TO
                                        )   COMPASSIONATE RELEASE
16                                      )   [10504]
                                        )
17 RAYMOND SHYROCK, et al.,             )
                                        )
18                                      )
                                        )
19                  Defendants.         )
                                        )
20                                      )
21       Currently before the Court is Defendant Raymond
22 Shyrock’s (“Defendant”) Motion to Reduce Sentence Under
23 18 U.S.C. § 3582(c)(1)(A) [10504] filed on September
24 14, 2020.      The Court sets the following briefing
25 schedule:
26       Government’s Opposition:                October 19, 2020
27       Defendant’s Reply:                      November 16, 2020
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 1       The Motion will be deemed submitted upon receipt of
 2 the Reply or on the expiration of the Reply deadline.
 3
 4 IT IS SO ORDERED.
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 6 DATED: September 25, 2020                 /s/ Ronald S.W. Lew
 7                                          HONORABLE RONALD S.W. LEW
                                            Senior U.S. District Judge
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